                 Case 2:15-cr-00161-WBS Document 50 Filed 09/21/15 Page 1 of 3


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 6
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 7 United States of America

 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-161 JAM
12
                                   Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                           FINDINGS AND ORDER
14
     ANDREW KIMURA, et al.,
15
                                   Defendants.
16

17
                                                  STIPULATION
18
            1.       By previous order, this matter was set for status on September 22, 2015.
19
            2.       By this stipulation, defendants now move to continue the status conference until
20
     December 8, 2015 at 9:15 a.m., and to exclude time between September 22, 2015, and December 8,
21
     2015 at 9:15 a.m., under Local Code T4.
22
            3.       The parties agree and stipulate, and request that the Court find the following:
23
            a)       The government has represented that the discovery associated with this case includes 700
24
     pages of interview reports and documents obtained through the investigation and 90 discs containing
25
     audio and video files. All of this discovery has been produced directly to counsel.
26
            b)       Further, the United States represents that additional discovery, including DMV records
27
     and information from cellular phones seized during the course of the investigation is still be processed
28
     for discovery and the United States anticipates such discovery will be produced over the next several

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        1
      FINDINGS AND ORDER
                 Case 2:15-cr-00161-WBS Document 50 Filed 09/21/15 Page 2 of 3


 1 weeks.

 2          c)       Counsel for defendants desire additional time need additional time to review the

 3 discovery and investigate the case, including to conduct legal research as to any potential defenses, and

 4 to discuss the matter with their clients.

 5          d)       Counsel for defendants believe that failure to grant the above-requested continuance

 6 would deny counsel the reasonable time necessary for effective preparation, taking into account the

 7 exercise of due diligence.

 8          e)       The government does not object to the continuance.

 9          f)       Based on the above-stated findings, the ends of justice served by continuing the case as

10 requested outweigh the interest of the public and the defendant in a trial within the original date

11 prescribed by the Speedy Trial Act.

12          g)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

13 within which trial must commence, the time period of September 22, 2015 to December 8, 2015 at 9:15

14 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

15 because it results from a continuance granted by the Court at defendants’ request on the basis of the

16 Court’s finding that the ends of justice served by taking such action outweigh the best interest of the

17 public and the defendant in a speedy trial.

18          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

19 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

20 must commence.

21          IT IS SO STIPULATED.

22
     Dated: September 17, 2015                                 BENJAMIN B. WAGNER
23                                                             United States Attorney
24                                                             /s/ Todd A. Pickles
                                                               TODD A. PICKLES
25                                                             Assistant United States Attorney
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]         2
      FINDINGS AND ORDER
              Case 2:15-cr-00161-WBS Document 50 Filed 09/21/15 Page 3 of 3

     Dated: September 17, 2015                             /s/ Todd A. Pickles for
 1                                                         WILLIAM PORTANOVA, ESQ.
                                                           Counsel for Defendant
 2
                                                           Andrew Kimura
 3

 4 Dated: September 17, 2015                               /s/ Todd A. Pickles for
                                                           ANTHONY CAPOZZI, ESQ.
 5                                                         Counsel for Defendant
                                                           Pavitar Dosangh Singh
 6

 7 Dated: September 17, 2015                               /s/ Todd A. Pickles for
 8                                                         ADAM J. KROLIKOWSKI, ESQ.
                                                           Counsel for Defendant
 9                                                         Robert Turchin

10
     Dated: September 17, 2015                             /s/ Todd A. Pickles for
11                                                         ERNEST L. ANDERSON, ESQ.
                                                           Counsel for Defendant
12
                                                           Mangal Gill
13

14

15                                          FINDINGS AND ORDER

16         IT IS SO FOUND AND ORDERED this 18th day of September, 2015

17
                                                        /s/ John A. Mendez
18                                                   THE HONORABLE JOHN A. MENDEZ
                                                     UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]     3
      FINDINGS AND ORDER
